                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                               Case No. 3:16-CR-199 (HL)

 JOHN ROBERTS


                                         ORDER

         This case came before the Court on July 26, 2017, for a hearing on

Defendant’s Motion to Suppress (Doc. 190) and for a pretrial conference. This Order

memorializes the Court’s rulings from the bench.

I.       MOTION TO SUPPRESS

         On February 14, 2016, federal agents approached Defendant John Roberts

and his fiancé Kayla Phillips aboard a Norwegian Cruise Line ship in the Port of New

Orleans. The agents escorted Defendant and Ms. Phillips from the ship to an area

within the customs enforcement area designated for the Department of Homeland

Security. Defendant moves to suppress the statements he made to the federal

agents in the course of the ensuing interview as well as the evidence obtained from

his cell phone. Defendant argues that the agents failed to advise him properly of his

rights under Miranda v. Arizona, 384 U.S. 486 (1966) and its progeny and that the

unreasonable delay between the time the agents removed Defendant from the ship

and the time at which the agents presented the consent form for the search of his

phone was specifically designed to wear him down and to convince Defendant to

provide his consent.
     Case 3:16-cr-00199   Document 202    Filed 08/11/17   Page 1 of 7 PageID #: 745
      Under Miranda, “the prosecution may not use statements, whether exculpatory

or inculpatory, stemming from custodial interrogation of the defendant unless it

demonstrates the use of procedural safeguards effective to secure the privilege

against self-incrimination.” Id. at 444. “[I]ncriminating statements elicited from

suspects in custody cannot be admitted at trial unless the suspect was first advised

of his . . . Miranda rights.” United States v. Salvo, 133 F.3d 943, 948 (6th Cir. 1998)

(citing Stansbury v. California, 511 U.S. 318, 322 (1994)). Once a suspect has been

advised of his rights, he may waive them, provided that the waiver is “voluntary,

knowing and intelligent, under the totality of circumstances.” United States v. Walls,

116 F. App’x 713, 717 (6th Cir. 2004). In other words, the waiver must be both “the

product of a free and deliberate choice rather than intimidation, coercion, or

deception” and “made with a full awareness of both the nature of the right being

abandoned and the consequences of the decision to abandon it.” Moran v. Burbine,

475 U.S. 412, 421 (1986). The government bears the burden of proving a valid

waiver by a preponderance of the evidence. Colorado v. Connelly, 479 U.S. 157,

168 (1986).

      The Government disputes that Defendant was ever taken into custody on

February 14, 2016. Special Agent Sarah Perry, an investigator with the United States

Army, testified that when federal agents approached Defendant and Ms. Phillips

aboard the cruise ship, the agents briefly identified themselves and asked Defendant

and Ms. Phillips to disembark with them. Special Agent Perry further testified that

Defendant and Ms. Phillips were not required to speak with the agents and were free

                                          2
 Case 3:16-cr-00199     Document 202     Filed 08/11/17    Page 2 of 7 PageID #: 746
to leave at any time. However, while agents specifically told Defendant and his

fiancé that they were not required to speak with the agents, no one explicitly told the

couple that they had the option to remain on the cruise ship and to later disembark

through customary means with the remainder of the ship’s passengers.

      Regardless of Defendant’s custodial status, the undisputed evidence shows

that the agents properly informed Defendant of his constitutional right to remain

silent. Special Agent Perry testified that Defendant was advised of his rights both

verbally and in writing and that he willing executed a waiver form. According to Agent

Perry, Defendant was remarkably forthcoming when speaking with the agents and

cooperated freely. Defendant presented no evidence to the contrary. The Court

accordingly finds the Government has met its burden of proving by a preponderance

of the evidence that Defendant was made aware of his Miranda rights and that he

knowingly and voluntarily waived those rights and DENIES Defendant’s motion to

suppress any statements given to the interviewing agents.

      The Court similarly concludes that Defendant voluntarily provided consent for

the agents to search his cell phone. The Fourth Amendment permits a warrantless

seizure only if an individual provides valid consent. United States v. Hinojosa, 606

F.3d 875, 881 (6th Cir. 2010). A seizure “authorized by consent is wholly valid,” as

long as the government meets its “burden of proving that the consent was, in fact,

freely and voluntarily given.” Schneckloth v. Bustamonte, 412 U.S. 218, 222 (1973).

The consent must not be “the result of coercion, duress, or submission to a claim of

authority.” United States v. Lee, 793 F.3d 680, 685 (6th Cir. 2015) (citations omitted).

                                           3
 Case 3:16-cr-00199     Document 202      Filed 08/11/17   Page 3 of 7 PageID #: 747
      In his motion to suppress, Defendant argues that he did not provide valid

consent because there was an unreasonable delay between the time he entered the

interview room and the time he executed the consent form. Defendant suggests that

his signature was coerced since he believed that he would be unable to leave until

he acquiesced. However, the uncontradicted testimony presented at the July 26,

2017 hearing demonstrates that federal agents first approached Defendant around

7:00 a.m. as he was returning to his room from breakfast. Defendant, his fiancé, and

the agents then left the ship. The agents spent approximately three hours

interviewing Ms. Phillips. The evidence further shows that Defendant signed the

Miranda waiver around 10:13 a.m. and the consent to search form around 10:45 a.m.

The agents then met with Defendant for another three hours thereafter. Based on this

timeline and the totality of the circumstances, there is no evidence to suggest that

Defendant’s consent to search his cell phone was anything but voluntary. The Court

accordingly DENIES Defendant’s motion to suppress the evidence obtained from his

cell phone.

II.   DEFENDANT’S MOTIONS IN LIMINE

      A.      Defendant’s Motion in Limine No. 1

      Defendant moves to exclude any evidence or testimony concerning any proffer

he made on March 4, 2016. At this time, the Government does not intend to present

evidence of Defendant’s proffer and so does not oppose Defendant’s motion.

However, in the event that Defendant elects to testify at trial, the Government

reserves the right to utilize Defendant’s proffer for impeachment purposes.

                                         4
  Case 3:16-cr-00199   Document 202     Filed 08/11/17   Page 4 of 7 PageID #: 748
      Defendant’s motion is GRANTED IN PART AND DENIED IN PART. The Court

will permit the Government to use Defendant’s prior statements for the purpose of

impeachment should Defendant testify at trial.

      B.     Defendant’s Motion in Limine No. 2

      Defendant moves to exclude any evidence or testimony regarding the Notice

of Suspension Defendant received from the Department of Defense dated October

27, 2016. The Government does not oppose Defendant’s motion. The motion is

GRANTED.

      C.     Defendant’s Motion in Limine No. 3

      On February 14, 2016, law enforcement agents obtained consent from Kayla

Phillips, Defendant’s fiancé, to search her vehicle. As a part of that search, agents

seized a loaded handgun, two knives, and bank records belonging to Ms. Phillips

from Fifth Third Bank and U.S. Bank. Defendant moves to exclude any evidence or

testimony regarding these items. The Government does not contest the motion as it

relates to the weapons. However, the Government opposes the exclusion of Ms.

Phillips’ bank records, which the Government suggests may implicate any

knowledge she may have of Defendant’s conduct as it relates to this case.

      Defendant’s motion is GRANTED as to the handgun and two knives. The

Court RESERVES ruling as to the bank records and will wait to see how the

evidence unfolds at trial.




                                         5
 Case 3:16-cr-00199     Document 202    Filed 08/11/17   Page 5 of 7 PageID #: 749
       D.    Defendant’s Motion in Limine No. 4

       Defendant moves to exclude any alleged statement he that he was willing to

cooperate with investigators, which he purportedly made during his interview with

law enforcement agents on February 14, 2016. Defendant’s motion is DENIED.

       E.    Defendant’s Motion in Limine No. 5

       On February 11, 2016, law enforcement agents conducted a search of

Defendant’s detached garage. During that search, agents seized the following

firearms:

       1.    Taurus 410/45 gun; S/N: EU483050

       2.    Belgium PS90; S/N: FN067031

       3.    SKS or AK; S/N: M85P002256

       4.    SHTLE 1916 Bolt action rifle; S/N: 422

       5.    Lever action 22; S/N: 5311725

       6.    MODAR15; S/N 07182

       7.    Harrington and Richardson; S/N: 2112

       8.    Ruger; S/N: 0001-28611

Defendant moves to exclude any evidence or testimony pertaining to these items.

The Government does not oppose Defendant’s motion. The motion is GRANTED.

III.   CONCLUSION

       For the foregoing reasons, the Court DENIES Defendant’s Motion to Suppress

(Doc. 190). The Court GRANTS IN PART, DENIES IN PART, and RESERVES

RULING in part Defendant’s motions in limine (Docs. 167-170, 171).

                                        6
  Case 3:16-cr-00199   Document 202    Filed 08/11/17   Page 6 of 7 PageID #: 750
    SO ORDERED this 10thth day of August, 2017.


                                    s/ Hugh Lawson_______________________
                                    HUGH LAWSON, SENIOR JUDGE,
                                    sitting by designation




                                      7
Case 3:16-cr-00199   Document 202    Filed 08/11/17   Page 7 of 7 PageID #: 751
